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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
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                                                                       :
 In re:                                                                : Chapter 11
                                                                       :
 HANS FUTTERMAN,                                                       : Case No. 17-12899-mew
                                          Debtor.                      :
 ----------------------------------------------------------------------x
                                                                       :
 USHA SOHA TERRACE, LLC,                                               :
                                                                       : Adv. Pro. No. 17-01220
                                          Plaintiff,                   :
                                                                       :
 RGS HOLDING, LLC, HANS FUTTERMAN,                                     :
 SOHA TERRACE, LLC, 2280 FDB, LLC,                                     :
                                                                       :
                                          Defendants.                  :
 ----------------------------------------------------------------------x
                                                                       :
 USHA SOHA TERRACE, LLC,                                               :
                                                                       : Adv. Pro. No. 17-01221
                                          Plaintiff,                   :
                                                                       :
 RGS HOLDING, LLC, HANS FUTTERMAN,                                     :
 SOHA TERRACE, LLC, 2280 FDB, LLC,                                     :
                                                                       :
                                          Defendants.                  :
 ----------------------------------------------------------------------x

               DEBTOR HANS FUTTERMAN’S NOTICE OF MOTION FOR
              PARTIAL CONFIRMATION OF ARBITRATION AWARD AND
          APPOINTMENT OF AN INDEPENDENT MANAGER FOR 2280 FDB, LLC

               PLEASE TAKE NOTICE that upon the accompanying Declaration of Aaron M.

     Zeisler, dated January 9, 2018, with exhibits annexed thereto, Debtor’s Supplemental

     Arguments Regarding Partial Confirmation of Arbitration Award and Appointment of an

     Independent Manager for 2280 FDB, LLC, and the pleadings and prior proceedings herein,

     debtor Hans Futterman, through his undersigned counsel, shall move this Court, at The

     United States Bankruptcy Court, One Bowling Green, New York, New York, 10004 on

     January 22, 2018, at 11:00 a.m. before the Honorable Michael E. Wiles, United States
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     Bankruptcy Judge at his Courtroom number 617 for an order:

               1. appointing an independent manager to manage 2280 FDB, LLC so that its

                    remaining units can be sold and a post-2013 accounting of its books can be

                    performed;

               2. confirming the award issued in USHA SoHa Terrace LLC, et al. v. Hans

                    Futterman, et al., AAA Case No. 13-20-1300-0729 (the “Award”), except as set

                    forth in 3, below;

               3. vacating that portion of the Award which that held that USHA (a 14% minority

                    member) “shall elect new managing members” for both 2280 FDB, LLC and

                    SoHa Terrace, LLC;

               4. granting such other and further relief as the Court may deem appropriate.

               PLEASE TAKE FURTHER NOTICE that USHA SoHa Terrace, LLC shall file

     and serve any opposition to the Motion on or before January 16, 2018 at 5:00 p.m. (EST), as

     per the Court’s Order entered December 20, 2017 (Dkt. No. 45); and

 Dated: New York, New York
        January 9, 2018
                                                         ZEISLER PLLC


                                                         By:      /s/ Aaron M. Zeisler
                                                                 Aaron M. Zeisler
                                                                 Meghan H. Sullivan
                                                         Proposed Special Litigation Counsel
                                                         for Debtor Hans Futterman
                                                         750 Third Avenue, 9th Floor
                                                         New York, NY 10017
                                                         Tel: (212) 671-1921




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 UNITED STATES BANKRUPTCY COURT
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 In re:                                                                : Chapter 11
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                                                                       :
                                          Defendants.                  :
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 USHA SOHA TERRACE, LLC,                                               :
                                                                       : Adv. Pro. No. 17-01221
                                          Plaintiff,                   :
                                                                       :
 RGS HOLDING, LLC, HANS FUTTERMAN,                                     :
 SOHA TERRACE, LLC, 2280 FDB, LLC,                                     :
                                                                       :
                                          Defendants.                  :
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             DEBTOR’S SUPPLEMENTAL ARGUMENTS REGARDING
            PARTIAL CONFIRMATION OF ARBITRATION AWARD AND
        APPOINTMENT OF AN INDEPENDENT MANAGER FOR 2280 FDB, LLC



                                                           ZEISLER PLLC

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                                                           Tel: (212) 671-1921

                                                           Proposed Special Litigation Counsel
                                                           for Debtor Hans Futterman
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                                  PRELIMINARY STATEMENT

         Disputed unsecured creditor USHA SoHa Terrace LLC (“USHA”) is a nuisance litigant –

 having filed five spurious cases against Debtor Hans Futterman in five years – exploiting the

 court system in a misguided campaign to seize more than its share of a 14% minority investment

 in a condominium project, 2280 FDB LLC (“2280 FDB”). Futterman indirectly owns 80% of

 2280 FDB, and his interest is his largest asset. USHA’s attempt to co-opt 2280 FDB jeopardizes

 the recovery of Futterman’s creditors and undermines this Court’s ability to preserve the assets

 of the estate for the benefit of legitimate creditors.

         USHA’s opportunism dates to 2012, when it filed the first of two almost identical cases

 against Futterman and 2280 FDB alleging conversion and usurpation of assets by Futterman.1

 These claims were ordered to arbitration and were denied in a decision rendered on July 12, 2017

 in USHA SoHa Terrace LLC, et al. v. Hans Futterman, et al., AAA Case No. 13-20-1300-0729

 (the “Award”) (Zeisler Decl., Ex. A). Undeterred, at midnight on the day the Award was issued,

 USHA filed claims against Futterman purportedly on behalf of 2280 FDB in order to file several

 patently improper lis pendens against 2280 FDB itself (the “July 2017 Action”) – an obvious

 attempt to stymie the 2280 FDB project further.2 USHA and its counsel knew the lis pendens

 filings were improper for the additional reason that they had filed lis pendens against the

 property in a 2014 action on the same alleged grounds once before, which Justice Anil Singh

 vacated on May 14, 2015, ruling that USHA had no direct interest in 2280 FDB, but rather, only

 an interest in the parent LLC that owns 2280 FDB. See Tr. & Order at 25:26-29:25 (Zeisler

 Decl., Ex. B). The July 2017 Action was a particularly audacious power grab by USHA given


         1
          These two state court cases, filed in 2012 and 2014 respectively, are now before this
 Court as Adversary Proceeding Nos. 17-01220 and 17-01221.
         2
             This 2017 state court case was also removed to this Court. See Adv. Pro. No. 17-01222.
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 that no corporate action or court order authorized 2280 FDB’s minority shareholder to purport to

 represent its interests, and its counsel has admitted that USHA is not the managing member.

 Moreover, USHA’s counsel had a non-waivable conflict in its purported representation of 2280

 FDB, having represented USHA in litigation against 2280 FDB on the very same day it filed suit

 on behalf of 2280 FDB.

        In its crusade to transform its 14% interest into a controlling stake in 2280 FDB, USHA

 and its counsel have even sued Futterman’s now-former attorneys, Robinson Brog Leinwand

 Greene Genovese & Gluck, P.C (“Robinson Brog”), on behalf of USHA and derivatively on

 behalf of 2280 FDB, claiming that the firm’s representation of 2280 FDB was lacking and

 improper. The direct and derivative claims in that lawsuit were summarily rejected on motion to

 dismiss by the New York Supreme Court, which held, inter alia, that USHA failed to satisfy

 New York corporate law requirements of demand or futility in order to bring such claims –

 rejecting USHA’s attempt to act on behalf of 2280 FDB. See Order at 4-5 (Zeisler Decl., Ex. C).

 Importantly, the Court ruled that USHA’s allegations were conclusory and legally insufficient

 where it alleged that any demand on Futterman was futile because the entities were supposedly

 wholly dominated and controlled by Futterman. Id. at 5.

        Undeterred by the Robinson Brog ruling, USHA filed another action on November 28,

 2016 against Futterman, 2280 FDB and Ladera, LLC (the “November 2016 Action”) – again, on

 behalf of itself and derivatively on behalf of 2280 FDB and SoHa Terrace – concerning his

 management of 2280 FDB and purported transfer of parking rights. Again, USHA conclusorily

 alleged that no demand had been made upon Futterman “because such demand would be utterly




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 futile” and that “Futterman exerts total domination and control over SoHa and 2280.” Compl. ¶

 10 (Zeisler Decl., Ex. D).3

           USHA has not gotten the message. Here, once again, minority investor USHA continues

 its efforts to obtain more than it is owed by purporting to bring direct and derivative claims on

 behalf of itself and 2280 FDB, seeking unspecified claims that “are anticipated to include, but

 are not limited to, diversions of opportunity from, and assets from, the Claimant(s), in an amount

 that is impossible to determine at the present time.” See Proof of Claim 11-1, ¶ 2 (Zeisler Decl.,

 Ex. E).

           Accordingly, Futterman, by this motion, seeks two things from this Court.              First,

 Futterman seeks to partially confirm the Award in which the arbitrator found — contrary to

 USHA’s laundry list of claims — that Futterman and his entity RGS Holdings, LLC (“RGS”)

 had provided an accurate capital accounting regarding the parties’ 2280 FDB project through

 December 31, 2013. The Award also denied eight other of USHA’s claims about RGS and its

 sole member Futterman:

           that RGS did not maintain proper books and records (denied); that it falsified
           books and records through December 31, 2013 (denied); that it did not faithfully
           cooperate with the audit (denied); that it converted a project opportunity (denied);
           that it made fraudulent misrepresentations in connection with refinancing
           (denied); that it was improperly paid brokerage commissions (denied); that it
           misrepresented the amount of its capital (denied); and that it improperly retained
           Next City Development (denied).

 See Award at 26-27 (Zeisler Decl., Ex. A).

           Second, Futterman seeks the Court’s appointment of an independent manager for 2280

 FDB, such as retired bankruptcy Judges Robert Gerber or Raymond Lyons, in order to: (a) sell

           3
          Of course, this filing was made, contrary to the parties’ operating agreements, after
 Futterman and RGS had demanded the issue be arbitrated. Moreover, USHA has not prosecuted
 that New York action – instead, it leaked its complaint the next day (which was not then publicly
 available) to the RealDeal with the desired intent of publicly besmirching Futterman and tying up
 the 2280 FDB project further.

                                                    3
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 the remaining seven units (five residential and two commercial/common units) of 2280 FDB, and

 (b) engage accountants to perform a full accounting of the books of 2280 FDB to put to rest

 USHA’s spurious claim that Futterman has converted assets of 2280 FDB after December 31,

 2013. The appointment of an independent manager for 2280 FDB is necessary in order to

 preserve and protect Futterman’s assets for the benefit the Debtor’s estate and all valid and

 allowed creditors – not just the overly-litigious USHA. Moreover, such appointment is entirely

 warranted in light of Futterman’s 80% indirect ownership of 2280 FDB, which gives Futterman

 (not USHA) the right to elect a new manager for 2280 FDB. While it is true, as USHA will

 raise, that the arbitrator found that Futterman and RGS should be removed as managers “[t]o

 prevent further self-dealing by Futterman” and be replaced “with some other entity not affiliated

 with Futterman” (see Award at 24), the parties’ operating agreements and long-standing New

 York LLC Law entitle RGS to vote its 80% interest in 2280 FDB to elect an independent

 manager of 2280 FDB. To the extent that the Award provides that USHA (a 14% minority

 member) “shall elect new managing members” for both 2280 FDB and its controlling member,

 SoHa Terrace, the arbitrator grossly exceeded his authority and violated the majority voting

 rights of RGS (and thus Futterman) in clear contravention of New York public policy and the

 applicable operating agreements.

        USHA, however, is already purporting to act as manager of 2280 FDB – even though the

 arbitration award has not been confirmed and its counsel has admitted it is not manager – as

 evidenced by USHA’s filing of the July 2017 Action on behalf of 2280 FDB and its proof of

 claim on behalf of 2280 FDB. There can be no question that USHA’s prior conduct is improper

 and wholly self-serving: USHA has repeatedly demonstrated its willingness to prioritize its own

 interests over those of 2280 FDB and all others involved in the project. Given USHA’s well-




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 documented behavior, USHA’s control over 2280 FDB would be profoundly detrimental to the

 Debtor’s estate and to its other legitimate creditors.

        For these reasons and those set forth herein, Debtor respectfully requests that the

 arbitration award be confirmed in part and vacated in part, and that an independent manager,

 such as Judge Gerber or Judge Lyons, be appointed as manager of 2280 FDB and oversee the

 orderly sale of its remaining assets.

                      FACTUAL BACKGROUND AND CASE HISTORY

        Debtor embarked on his plan to develop a residential condominium building at 2280

 Frederick Douglass Boulevard in 2004 (the “Project”), taking steps to acquire the parcels of land

 and obtain the necessary construction permits. See Award at 2 (Zeisler Decl., Ex. A). In late

 2005 or early 2006, Futterman approached USHA’s principals as potential investors in the

 Project. Id. In connection with USHA’s investment in the Project, USHA and Futterman –

 through his wholly-owned entity RGS – formed SoHa Terrace, LLC as the limited liability

 company that would own and develop the Project. Id. For its initial investment of $1.1 million,

 USHA received an 11% interest in SoHa Terrace. Id. Although USHA’s interest was later

 increased to 14%, it is undisputed that RGS retained at least an 80% majority membership in

 SoHa Terrace at all times since its formation.4 Id. at 3, 26.

 The Managing Member SoHa Terrace

        SoHa Terrace’s Operating Agreement (the “SoHa Operating Agreement”) not only

 provides that the entity’s managing member is RGS, but specifically requires Futterman’s

 continuing control of RGS. See SoHa Operating Agreement at §§ 1.32 (Zeisler Decl., Ex. F)


        4
         As per the Award, Ameritrans Capital Corporation (“Ameritrans”) held a 6% interest in
 SoHa Terrace. However, as per USHA’s proof of claim, apparently Ventures Soha LLC
 purchased that 6% interest. See Claim 11-1, ¶ 5.


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 (defining Managing Member as RGS); § 11.9 (“Hans Futterman shall be required to remain as

 Managing Member of RGS [], which shall be the Managing Member of the Company”). The

 SoHa Operating Agreement also expressly provides that the managing member’s authority is

 exclusive – SoHa’s members do not have the right to participate in the management of the

 company by virtue of their membership interest. See id. §§ 6.1, 1.31 (“No Member other than

 the Managing Member shall have authority as a Member to bind the Company or any [right to

 participate in the management of the Company, to vote on any matter and to grant or withhold

 consent or approval of actions of the Company] . . ..”). Pursuant to the SoHa Operating

 Agreement, RGS was to be the managing member of SoHa Terrace in perpetuity – RGS “shall

 not have a right to resign” and “may not be removed by the Members for any reason other than a

 breach of [RGS’s] standard of care,” defined as “refraining from engaging in grossly negligent or

 reckless conduct, intentional misconduct, fraud or a knowing violation of law.” Id. §§ 7.6, 7.7.

 For this reason, the SoHa Operating Agreement does not include voting provisions for the

 election of the managing member. It does, however, specifically acknowledge that New York’s

 LLC Law controls the agreement’s provisions: “If the operation of any provision of this

 Company Agreement would contravene the provisions of the NY LLC Law, such provisions

 shall be void and ineffectual.” Id. § 14.6.

 2280 FDB and Its Operating Agreement

        As the parties had anticipated when USHA made its investment, the next phases of the

 Project necessitated engaging other investors. Award at 3 (Zeisler Decl. Ex. A). Pursuant to the

 financing agreements reached by SoHa Terrace’s members, a new entity called 2280 FDB, LLC

 (“2280 FDB”) was formed in 2006 to own and develop the Project. Id. at 4. When the original

 majority member of 2280 FDB expressed an interest in having its interest redeemed in or about

 2012, USHA consented to the redemption and refinancing.          Id. at 9.   As a result of this

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 redemption and refinancing, SoHa Terrace became the 99.5% owner of 2280 FDB, and a newly-

 formed entity called SoHa Terrace Management Corp. (“STMC”) became a 0.5% owner and the

 managing member of 2280 FDB.          Id.    Futterman controls SoHa Managing Owner LLC

 (“SMO”), the owner of STMC, and therefore ultimately controls STMC. Id. The organization

 chart below depicts in relevant part the ownership of 2280 FDB. (The underlined entities in gray

 boxes are controlled by Debtor Futterman).


                                              2280 FDB LLC



      SMO                          STMC                             SoHa Terrace
      100%                 0.5%, Managing Member                       99.5%




                      USHA                              RGS                        Ventures Soha
                       14%                              80%                          LLC 6%


 The Limited Liability Company Operating Agreement of 2280 FDB, as amended and restated on

 March 28, 2012 (the “2280 FDB Operating Agreement”) provided that SoHa Terrace Manager

 Corp. or “STMC” (defined as “SoHa Manager” in the operating agreement) would be the

 manager, and that there would be a vote by Class A units to replace the manager. See 2280 FDB

 Operating Agreement at Section 3.1(c), 8.1 & 8.3 (Zeisler Decl., Ex. G). Importantly, 2280 FDB

 is a manager-managed entity, and “Manager” under the 2280 FDB Operating Agreement “means

 SoHa Manager and any replacement appointed in accordance with the agreement.” Id., Art. II




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 (emphasis added) & § 3.1(a) (“the business and affairs of the Company shall be managed by or

 under the direction of the Manager.”).5

 USHA Files Claims Against Futterman, 2280 FDB and SoHa Terrace

        At some point following the reorganization of 2280 FDB, USHA became disillusioned

 with the development of the Project and, on or about April 9, 2013, filed a demand for arbitration

 with the American Arbitration Association against RGS, Futterman, 2280 FDB, and SoHa

 Terrace6, as required by the 2280 FDB Operating Agreement’s dispute resolution provisions.

 See id., § 12.7. USHA asserted a hodgepodge of claims including a failure to maintain proper

 books and records, conversion of project opportunities, and misrepresentation of capital

 contributions to the Project. See Award at 15-21 (Zeisler Decl., Ex. A). In connection with the

 Arbitration, the parties engaged in an extensive discovery process, which made evident that the

 vast majority of USHA’s claims were factually unsupported, and the Award denied those claims.

        Moreover, USHA filed a 2014 action in an effort to circumvent the Arbitration, claiming

 that Defendants had frustrated the arbitration process by withholding certain documents (an

 assertion that was ultimately rejected in the Award). Defendants responded by moving to

 compel USHA to return to the arbitration process that was underway. By Order dated May 14,

 2015, Justice Anil C. Singh granted Defendants’ motion pursuant to CPLR § 7503(a) to compel

 arbitration and issued a stay of the litigation. Zeisler Decl., Ex. B. Significantly, Justice Singh

 made clear that all claims should be brought in arbitration, and that “either party may make an




        5
           Also, STMC is the managing member of 2280 FDB, and none of the acts purporting to
 justify removal of RGS from SoHa Terrace would justify removal of STMC as managing
 member for 2280 FDB.
        6
          USHA also named Ameritrans, the third member of SoHa Terrace, as a defendant in the
 Arbitration.

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 application by order to show cause to vacate or modify this stay upon the final determination of

 the arbitration.” Id.

 The Arbitration

        The arbitration hearings took place between December 15, 2015 and June 16, 2016. See

 Award at 3 (Zeisler Decl. Ex. A). On or about July 25, 2016, all parties to this lawsuit stipulated

 that the arbitrator’s determination would be binding. Id. The Award, which was issued on July

 12, 2017, rejected the virtually all of USHA’s claims against RGS and Futterman. Id. at 26-27.

 The arbitrator found that Futterman and his entity RGS had provided an accurate capital

 accounting regarding the parties’ 2280 FDB project through December 31, 2013, and the

 arbitrator denied eight other of USHA’s claims about RGS and its sole member Futterman:

        that RGS did not maintain proper books and records (denied); that it falsified
        books and records through December 31, 2013 (denied); that it did not faithfully
        cooperate with the audit (denied); that it converted a project opportunity (denied);
        that it made fraudulent misrepresentations in connection with refinancing
        (denied); that it was improperly paid brokerage commissions (denied); that it
        misrepresented the amount of its capital (denied); and that it improperly retained
        Next City Development (denied).

 Id.

        However, the Award states Futterman had engaged in self-dealing in his entities’ role as

 managing members of SoHa Terrace and 2280 FDB, and that this misconduct “justifies his

 removal” as managing member. Id. at 24. Accordingly, the Award stated “RGS Holdings, LLC

 and Hans Futterman, as well as their affiliates . . . are herein and hereby removed from all

 management or control over SoHa Terrace, LLC and 2280 FDB LLC . . . .” Id. at 26.7



        7
           Futterman vehemently disagrees with the arbitrator’s removal of RGS based upon the
 assertion (i) that slow-selling units was tantamount to self-dealing (especially given that sales are
 driven by market conditions and that USHA has blocked sales of the units), and (ii) that booking
 a small amount of liabilities to 2280 FDB during the pendency of a dispute and then transferring
 those liabilities to RGS upon final determination of that dispute was improper.

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        Erroneously, however, the Award goes on to order that USHA “shall elect new managing

 members for SoHa Terrace, LLC and 2280 FDB, LLC.” Id. at 26. In other words, the Award

 purports to order SoHa Terrace’s minority member to “elect” a replacement managing member,

 notwithstanding the Award’s explicit recognition that “RGS Holdings, LLC is the owner of 80%

 of the membership interest in SoHa Terrace, LLC,” and that USHA “is the owner of 14% of the

 membership interest in SoHa Terrace, LLC.” Id. at 26.

 USHA’s Midnight Filing on Behalf of 2280 FDB on the Day the Award Was Rendered

        USHA wasted no time in attempting to capitalize on the arbitrator’s error. At midnight

 on the eve the Award was issued, USHA decided to unilaterally act as new managing members

 for both LLCs8 – without holding elections – by hiring the Yellen firm (USHA’s counsel) as

 counsel for 2280 FDB and SoHa Terrace, and by filing a lawsuit with both 2280 FDB and SoHa

 Terrace as plaintiffs. See Adv. Pro. No. 17-01222, Summons & Compl., Dkt. 1-2 (Zeisler Decl.,

 Ex. H). Indeed, the Yellen firm (which litigated 2012 and 2014 cases as well as the arbitration

 against 2280 FDB and SoHa Terrace) proceeded to bring this unauthorized lawsuit on behalf of

 2280 FDB and SoHa Terrace, asserting that “only [the minority members of SoHa Terrace] may

 further act, on behalf of Plaintiffs, to conduct the affairs thereof.” Of course, nothing in the

 entities’ operating agreements authorizes such an outcome, and New York LLC Law simply does

 not permit a minority member to effect a company coup in this manner.




        8
          New York LLC Law § 402(a) and SoHa Terrace’s Operating Agreement require a vote
 by ownership interests, and any control over 2280 FDB must still be exercised in accordance
 with its operating agreement, which requires a Manager to be appointed by Class A vote. See
 2280 FDB Operating Agreement, §§ 3.1(c), 8.1 & 8.3 (Zeisler Decl., Ex. G).

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                                            ARGUMENT

 I.       THIS COURT SHOULD APPOINT AN INDEPENDENT MANAGER FOR 2280
          FDB, LLC

          In order to protect Debtor’s largest remaining asset for the benefit of Debtor’s estate and

 all legitimate and allowed creditors, and to protect the estate against disputed, unsecured creditor

 USHA’s extortionate and iterative litigation tactics, this Court should exercise its inherent

 authority to appoint an independent Manager of 2280 FDB, such as Judge Gerber or Judge

 Lyons. This appointment is also Debtor’s right under the entities’ operating agreements and

 well-settled New York LLC law (see Point III, infra), but the need to protect the largest asset in

 the estate from a disputed, unsecured creditor is an independent ground for the relief Debtor

 seeks.

          A.     The Debtor’s Assets Must Be Protected for the Benefit of All Creditors

          “Bankruptcy is a collective remedy, with the original purpose – which continues to this

 day – to address the needs and concerns of creditors with competing demands to debtor’s limited

 assets, and with the understandable desire that the debtor’s assets not go to the swiftest, or the

 most aggressive of them.” In re Murray, 543 B.R. 484, 495 (Bankr. S.D.N.Y. 2016). As courts

 in this district have consistently recognized, bankruptcy functions “to preserve the assets of the

 debtor for the benefit of all creditors and protect the creditors from each other by stopping the

 race to seize the debtor’s assets.” In re Cabrini Med. Ctr., 489 B.R. 7, 23 (Bankr. S.D.N.Y.

 2012); see also In re Rubin, 160 B.R. 269, 281 (Bankr. S.D.N.Y. 1993) (“The guiding premise of

 the Bankruptcy Code is the equality of distribution of assets among creditors.”). Here, the

 appointment of an independent manager for 2280 FDB will prevent one disputed and conflicted

 unsecured creditor from seizing control over the largest asset in the estate, and is therefore in the

 best interest of the Debtor, its creditors and the estate as a whole.



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          There can be no question the appointment of an independent manager for 2280 FDB is

 within this Court’s authority. See, e.g., 11 U.S.C.A. § 105 (West) (“The court may issue any

 order, process, or judgment that is necessary or appropriate to carry out the provisions of this

 title.”). Indeed, a number of courts have appointed independent managers for the preservation of

 a debtor’s assets. See, e.g., Consolidated Mortgages, LLC v. Westport Golf Investors, LLC, 52

 Misc.3d 1218(a), 43 N.Y.S.3d 766(Table) (N.Y. Sup. Ct. 2015) (“By Order dated September 2,

 2015, with Plaintiff's consent, the Court granted the receiver's request to appoint a property

 manager to oversee operations of the golf course.”); In re Livecchi, 2011 WL 668973, at *3

 (Bankr. W.D.N.Y. Feb. 17, 2011) (“The Court granted the motions to appoint the [p]roperty

 [m]anager and [b]roker, . . . after [] it found those entities to be experienced and qualified”); see

 also Adar 980 Realty, LLC v. Sofer, No. 14-CV-3031, 2014 WL 3890110, at *5 (E.D.N.Y. Aug.

 5, 2014) (“[T]he purpose of the [property’s] operation by someone other than [debtor] was . . . to

 protect the assets of the estate from being converted [], a benefit which would accrue to all

 creditors equally.”).

         B.      Giving USHA, a Disputed Unsecured Creditor, Control Over 2280 FDB
                 Would Be Detrimental to the Debtor’s Estate and to its Other Legitimate
                 Creditors

         Such an independent manager is particularly appropriate here, where USHA has

 repeatedly demonstrated its willingness to act to the detriment of 2280 FDB to serve its own

 interests.   Allowing USHA to take the reins of the largest asset in Debtor’s estate would

 effectively enable a disputed, unsecured creditor with only speculative claims (and holding a

 mere 14% interest) to prioritize its own recovery at the expense of other creditors and the

 Debtor’s estate as a whole.

         Among other improper or self-interested actions that have harmed 2280 FDB, USHA:




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        1. Has filed improper lis pendens against 2280 FDB on at least two occasions. At

 midnight on the day the Award was issued, USHA filed claims against Futterman purportedly on

 behalf of 2280 FDB in the July 2017 Action in order to file several patently improper lis

 pendens against 2280 FDB itself (the “July 2017 Action”) – an obvious attempt to stymie the

 2280 FDB project. USHA and its counsel knew the lis pendens filings were improper given that

 they had previously filed lis pendens against the property in 2014 action on the same alleged

 grounds, which Justice Anil Singh vacated on May 14, 2015, ruling that USHA had no direct

 interest in 2280 FDB, but rather, only an interest in the parent LLC that owns 2280 FDB. See Tr.

 & Order at 25:26-29:25 (Zeisler Decl., Ex. B).

        2. Has blocked sales of the remaining 2280 FDB units. Indeed, Futterman sought

 consent from USHA to hire a new broker that would sell units as recently as October 2017, and

 USHA refused, which is stunning given that USHA argued during the arbitration that Futterman

 was “self-dealing” and not acting in the minority’s interest because he was not selling units

 quickly enough. See Award at 22-23.

        3. Has filed five litigations against Futterman and 2280 FDB (some of which USHA has

 strategically leaked to the press or other creditors, but has not prosecuted), such as the November

 2016 Action and the July 2017 Action.

        4. Has refused to arbitrate claims it must arbitrate in an attempt to continue litigation

 against Futterman and 2280 FDB. For instance, USHA alleged that Futterman improperly

 transferred parking rights owned by 2280 FDB, but when Futterman demanded arbitration with

 USHA, USHA refused. Zeisler Decl., Ex. D. Yet, after refusing to arbitrate as required by the

 parties’ operating agreements – though duly demanded – USHA filed the November 2016

 Action. See id. & Exhs. I & J.




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        Based upon its well-documented tactics, giving USHA control over 2280 FDB would be

 detrimental to the Debtor’s estate and to its legitimate creditors.

        C.      USHA’s Conduct Following The Award Demonstrates The Need For Court
                Intervention

        USHA’s reaction to the Award demonstrates that the ruling raises issues that are more

 than merely academic. Again, on the day the Award was issued, USHA took steps to co-opt

 control of SoHa Terrace, concluding that its purported authority to “elect” a new managing

 member entitled it to step into the shoes of the LLC’s majority owner as Manager immediately,

 without notice or holding an election. Specifically, at midnight on July 13, 2017 (the eve the

 Award was issued), USHA filed a separate lawsuit in New York Supreme Court supposedly on

 behalf of 2280 FDB, LLC and SoHa Terrace, LLC. See Zeisler Decl., Ex. H. USHA purported

 to act for 2280 FDB and SoHa Terrace notwithstanding the reality that (1) there obviously had

 been no “election” of a new managing member of these entities; and (2) the same law firm,

 Richard I. Yellen & Associates, LLP (“Yellen”), that represented USHA against 2280 FDB and

 SoHa Terrace in the arbitration, in this Action and in a separate 2014 action, now purported to

 represent 2280 FDB and SoHa Terrace before this Court. Indeed, the Yellen firm admitted that

 Futterman’s entity RGS is still currently the managing member of SoHa Terrace, and that

 entities that Futterman/RGS control are manager of 2280 FDB. See Zeisler Decl., Ex. K.

        Yet, in its “Verified Complaint” in the 2017 Action, USHA’s attorneys allege that “only

 [USHA] and/or Ameritrans Capiptal [sic] Corp., the other members of SoHa Terrace, LLC may

 further act, on behalf of [2280 FDB, LLC and SoHa Terrace], to conduct the affairs thereof.”

 Id., Ex. H, ¶ 6. This blatant power grab throws into stark relief the ramifications of the Award’s

 suggestion that an LLC’s majority member’s interest could be somehow subordinated to that of




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 the minority member – put simply, it turns New York LLC Law on its head, as addressed in

 Point III, below.

        D.      The Yellen Firm’s Representation of 2280 FDB and SoHa Terrace in the July
                2017 Action Creates a Non-Waivable Conflict for the Yellen Firm

        The difficulties inherent in the Award’s purported subordination of the rights held by

 2280 FDB and SoHa Terrace’s majority shareholders are compounded by Yellen’s attempt to

 take a dual role in these proceedings. Because Yellen litigated USHA’s claims against 2280

 FDB and SoHa Terrace in at least three separate proceedings, it cannot now bring a lawsuit on

 behalf of 2280 FDB and SoHa Terrace. Compare the July 2017 Action (Zeisler Decl., Ex. H) to

 the 2012 and 2014 actions, and the Award (Zeisler Decl., Exhs. A, L & M).

        Yellen undoubtedly recognizes the conflict: during the arbitration, Yellen demanded that

 2280 FDB and SoHa Terrace be represented by attorneys other than those representing

 Futterman and RGS, claiming that the “clear and acknowledged conflict of interest” required

 those entities to retain “independent counsel.” See Kombol Affirmation in Reply ¶¶ 3, 7 (Zeisler

 Decl. Ex. N). In light of their concern, 2280 FDB and SoHa Terrace obtained new counsel for

 the arbitration, Charles E. Boulbol, P.C.

        It is well-settled that Yellen cannot represent USHA against 2280 FDB, SoHa Terrace,

 RGS and Futterman in this action and the 2014 Action, yet represent 2280 FDB and SoHa as

 plaintiffs in the 2017 Action. In relevant part, the New York Rules of Professional Conduct,

 Rule 1.7(b), provides:

        “Notwithstanding the existence of a concurrent conflict of interest under
        paragraph (a) [which prohibits a lawyer from representing differing interests], a
        lawyer may represent a client if: … (3) the representation does not involve the
        assertion of a claim by one client against another client represented by the lawyer
        in the same litigation or other proceeding before a tribunal;”

 N.Y. Rules of Prof. Conduct (Jan. 2017), Rule 1.7(b) (emphasis added).



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         Moreover, this conflict is non-waivable. The official comment to Rule 1.7(b)(3) states

 that “Paragraph (b)(3) describes conflicts that are nonconsentable because of the institutional

 interest in vigorous development of each client’s position when the clients are aligned directly

 against each other in the same litigation or other proceeding before a tribunal.” Id., cmt. 17; see

 also id. cmt. 23 (“Paragraph (b)(3) prohibits representation of opposing parties in the same

 litigation, regardless of the clients’ consent.”).9

         Here, Yellen’s willingness to skirt these clear and unambiguous rules further

 demonstrates the need for an election of an independent manager for 2280 FDB and SoHa

 Terrace in accordance with New York law and the spirit of the Award. Absent this relief, USHA

 will continue to treat its minority membership in 2280 FDB and SoHa Terrace as though it is a

 controlling interest in both entities – effectively eviscerating the majority stake recognized by the

 Award and the majority rights universally recognized by New York LLC Law and the courts

 interpreting it.

 II.     USHA AGREES THE ARBITRATION AWARD’S FINDINGS THAT DEBTOR
         AND RGS DID NOT CONVERT ASSETS, FALSIFY RECORDS, USURP
         OPPORUNITIES OR COMMIT OTHER WRONGFUL ACTS SHOULD BE
         CONFIRMED

         USHA moved the New York Supreme Court to confirm the Award in its entirety,

 including the arbitrator’s findings that Debtor and RGS did not commit the wrongful acts alleged


         9
           Yellen’s actions may even be grounds for disqualification, especially if the firm persists
 in representing 2280 FDB and SoHa Terrace or taking actions on its behalf. See, e.g., Tekni-
 Plex, Inc. v Meyner and Landis, 89 N.Y.2d 123, 134, 674 N.E.2d 663, 669, 651 N.Y.S.2d 954,
 960 (1996) (attorney disqualification upheld where the business operations of the company
 continued under new managers because the attorney-client relationship is deemed to continue for
 purposes of conflict analysis); Caravousanos v. Kings County Hosp., 27 Misc. 3d 237, 242, 896
 N.Y.S.2d 818, 822-23 (Sup. Ct. 2010) (“The simultaneous representation of AWL and Nova in
 an adverse capacity was a violation of § 1200.7 [Rule 1.7] of the Rules of Professional
 Conduct.”). The conflict here is apparent given that Yellen presently seeks to confirm the
 arbitration Award against respondents 2280 FDB and SoHa Terrace, its own clients in the July
 2017 Action (Zeisler Decl., Ex. H).

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 by USHA. Specifically, the Award rejected the vast majority of USHA’s claims against RGS

 and Futterman. Award at 26-27 (Zeisler Decl, Ex. A). The arbitrator found that Futterman and

 his entity RGS had provided an accurate capital accounting regarding the parties’ 2280 FDB

 project as of December 31, 2013, and the arbitrator denied eight other of USHA’s claims about

 RGS and its sole member Futterman:

        •    that RGS did not maintain proper books and records (denied);

        •    that it falsified books and records through December 31, 2013 (denied);

        •    that it did not faithfully cooperate with the audit (denied);

        •    that it converted a project opportunity (denied);

        •    that it made fraudulent misrepresentations in connection with refinancing
             (denied);

        •    that it was improperly paid brokerage commissions (denied);

        •    that it misrepresented the amount of its capital (denied); and

        •    that it improperly retained Next City Development (denied).

 Id. Given that Debtor also agrees with the above-cited findings, that portion of the Award should

 be confirmed.

 III.   THE ARBITRATION AWARD’S PURPORTED DISENFRANCHISEMENT OF
        RGS VIOLATES NEW YORK PUBLIC POLICY AND STATUTE REGARDING
        THE VOTING RIGHTS OF LLC MEMBERS

        Under CPLR section 7511(b)(1), an arbitration award “shall be vacated on the application

 of a party . . . if the court finds that an arbitrator . . . exceeded his power or so imperfectly

 executed it that a final and definite award upon the subject matter submitted was not made . . . .”

 CPLR § 7511(b)(1)(iii).10 “[A] court may vacate an arbitral award where strong and well-


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             The Award was issued on July 12, 2017 and modified on August 22, 2017. The
 parties’ time to move to confirm or vacate the Award runs from the date of modification. See,

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 defined policy considerations embodied in constitutional, statutory or common law prohibit . . .

 certain relief from being granted by an arbitrator.” New York State Correctional Officers &

 Police Benev. Ass’n, Inc. v. State, 94 N.Y.2d 321, 326 (1999). In determining whether the

 Award violates New York’s public policy, this Court “must focus on the actual result of the

 arbitration process” and vacate where, “on its face and because of its reach, [it] violates an

 explicit law of this [s]tate.”    In re Bukowski (State Dep’t of Corrections and Community

 Supervision), 148 A.D.3d 1386, 1388, 50 N.Y.S.3d 588 (3d Dep’t 2017) (vacating award in

 part).    “Courts shed their cloak of noninterference where specific terms of the arbitration

 agreement violate a defined and discernible public policy; where an arbitrator exceeds his or her

 legal authority; or where the final result creates an explicit conflict with other laws and their

 attendant policy concerns.” New York State Correctional Officers, 94 N.Y.2d at 326; see also In

 re Binghamton City Sch. Dist. (Peacock), 33 A.D.3d 1074, 823 N.Y.S. 2d 231 (3d Dep’t 2006)

 (vacating award as violating “explicit and compelling public policy to protect children from the

 harmful conduct of adults”).

          A.    The Award’s Direction That USHA Shall Elect New Managers For Both
                2280 FDB and Its Parent SoHa Terrace Violates New York LLC Law §
                402(a)

          Here, the Award’s effective evisceration of an LLC member’s majority voting rights

 unquestionably contravenes the public policy set forth in New York LLC Law section 402(a),

 which requires that, “in managing the affairs of the limited liability company, [or] electing

 managers . . . each member of a limited liability company shall vote in proportion to such

 member’s share of the current profits of the limited liability company.” NY LLC LAW § 402(a).

 By directing USHA, a minority member of an LLC, to “elect” a managing member, the Award

 e.g., In re Bianchi (Katz), 111 A.D.3d 1012, 1013 (3d Dep’t 2013) (period in which to move to
 challenge award runs from the date of the arbitrator’s decision on the request for modification).
 However, Debtor’s and RGS’s initial motion was timely using either date.

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 created exactly the “explicit conflict” with section 402(a) that warrants this Court’s intervention.

 Indeed, to hold otherwise would effectively gut the LLC member protections afforded by New

 York LLC law. See In re Bukowski, 148 A.D.3d at 1389 (“[T]o construe the [public policy]

 exception so narrowly as to exclude cases that fall wholly within the strict judicial standards that

 have been established for its application would be, in effect, to declare that there is no such

 exception at all.”).

         Critically, this Court can reach this conclusion “without engaging in extended factfinding

 or legal analysis.” Matter of Sprinzen (Nomberg), 46 N.Y.2d 623, 631, 415 N.Y.S.2d 974

 (1979). Indeed, the Award itself recognizes that RGS “is the owner of 80% of the membership

 interest in SoHa Terrace, LLC.” See Award at 26 (Zeisler Decl. Ex. A). By recognizing RGS’s

 majority stake, and then simultaneously denying RGS the rights concomitant with its majority

 ownership under New York LLC law, the Award turns NY LLC law on its head and effectively

 rewrites SoHa Terrace’s Operating Agreement to put its minority owner in charge. See, e.g. City

 of Oswego v. Oswego City Firefighters Ass’n, Local 2707, 21 N.Y.3d 880, 882 (2013) (vacating

 award that enabled petitioner to take action “that is no longer authorized by law and, in the

 circumstances . . . creates an explicit conflict with other laws”); Matter of Nat’l Cash Register

 Co. (Wilson), 8 N.Y.2d 377, 383 (1960) (noting that arbitrators exceeded their powers “if they

 gave a completely irrational construction to the provisions in dispute and, in effect, made a new

 contract for the parties”).

         B.      New York LLC Law Is Well-Defined, Explicit and Clearly Applicable

         The LLC law was adopted by the New York legislature in 1994. See 1994 Sess. Law

 News of N.Y. Ch. 576 (S. 7511-A, A. 11317-A). As courts have consistently held since the

 statute’s enactment, the LLC Law provides the default provisions that govern LLC conduct in

 the absence of a contrary provision in an LLC’s operating agreement. See Overhoff v. Scarp,

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 Inc., 812 N.Y.S.2d 809, 816 (Sup. Ct. 2005) (“[T]he statute provided default procedures for

 LLCs, which will apply to LLC proceedings unless the operating agreement of the particular

 LLC clearly provides otherwise.”); Shapiro v. Ettenson, 146 A.D.3d 650, 45 N.Y.S.3d 439, 440

 (1st Dep’t 2017) (“[W]here . . . the operating agreement fails to address issues in dispute, the

 default provisions under the Limited Liability Company Law govern”); Manitaras v. Beusman,

 56 A.D.3d 735, 868 N.Y.S.2d 121 (2d Dep’t 2008) (“[T]he operating agreement of [the LLC] is

 silent on the issue of the sale of the company’s sole asset. Therefore, the default provisions of

 the Limited Liability Company law apply.”).

        Here, the SoHa Terrace Operating Agreement does not include provisions governing

 votes on managing members – namely because the agreement expressly envisions that RGS and

 STMC would act as managing members in perpetuity, absent grossly negligent or reckless

 conduct, intentional misconduct, fraud or a knowing violation of law.        See SoHa Terrace

 Operating Agreement (Zeisler Decl., Ex. F) at §§ 1.32 (defining Managing Member as RGS), 7.6

 (standard of care) & 7.7 (noting that RGS “shall not have a right to resign” and “may not be

 removed by the Members for any reason other than a breach of [RGS’s] standard of care”).

        In the absence of express voting provisions in the SoHa Terrace Operating Agreement,

 New York LLC Law section 402(a) controls how managing members must be elected. As the

 court explained in Spires v. Casterline, 4 Misc.3d 428, 778 N.Y.S.2d 259 (Sup. Ct. 2004), when

 an operating agreement

        does not address certain subjects, then the entity is bound by the minimum
        requirements set forth in the Limited Liability Company Law. In this situation,
        the entity is required to operate according to the statutory provisions. These
        statutory default provisions of the Limited Liability Company Law become the
        ‘Operating Agreement’ of the limited liability company.

 Id. There can be no question that this principle applies with equal force to the rights of LLC

 members to elect managers in proportion to their membership interests. See, e.g., Out of the Box

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 Promotions, LLC v. Koschitzki, 15 Misc.3d 1134(A), 841 N.Y.S.2d 821 (Sup. Ct. 2007)

 (“Applying the default provisions of LLCL § 402, members vote in proportion to their respective

 interests.”).

         Recognizing the strong public policy of protecting LLC members’ rights, New York

 courts routinely hold that acts taken without the vote of all members entitled to participate are

 void. See Gibber v. Colton, 140 A.D.3d 660, 33 N.Y.S.3d 719 (1st Dep’t 2016) (affirming order

 declaring that plaintiff remains a co-manager of LLC, on grounds that “plaintiff, who holds a

 50% member interest in the company, was not included in the March 2012 vote to remove her as

 co-managing member”); Villi v. O’Caining-Villi, 10 Misc.3d 1060(A) (Sup. Ct. 2005) (noting

 that in order to show that LLC’s conduct was authorized, “plaintiff would have to prove that the

 requisite meeting and voting was conducted, and that a majority vote supported” the conduct,

 and concluding that the “lack of proof is fatal to plaintiff’s application”).

         For this reason, the Award’s ruling that USHA “shall elect new managing members for

 SoHa Terrace LLC and 2280 FDB LLC” clearly and unmistakably violates New York LLC Law

 section 402(a). Nothing in New York’s LLC law or the LLCs’ operating agreements permits a

 minority member to unilaterally and singlehandedly “elect” a managing member; indeed, even if

 the law somehow condoned the sweeping abrogation of a majority member’s rights, the notion of

 a one-voter “election” is inherently contradictory. Even USHA recognized this principal given

 that its operative Statement of Claim in the underlying arbitration merely demanded that the

 managing member, SoHa Terrace, be removed and “replaced with a new party to be elected by

 Developer’s remaining members.” See USHA’s Third Am. Statement of Claim in Arbitration, ¶

 78 (Zeisler Decl., Ex. O). Thus, RGS would get a vote in any election of a new, non-RGS

 affiliated member. RGS is and at all times has been a Member – its removal as Manager does

 not denude or otherwise extinguish its status as a Member.

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        In addition, it is worth noting that New York courts have cast doubt on a tribunal’s ability

 to remove a manager absent a vote of the majority in interest. These rulings underscore the

 strong public policy of protecting LLC members’ rights to elect managers in accordance with

 section 402(a). See, e.g., Fakiris v. Gusmar Enters., LLC, 53 Misc.3d 1215(A), 48 N.Y.S.3d 265

 (Sup. Ct. 2016) (“[Plaintiff] seeks a judgment removing defendant Kostas as a managing

 member of Gusmar. . . . [P]laintiff cites no authority in support of the proposition that the court

 has the authority to remove a managing member of a limited liability company.”); Janklowicz v.

 Landa, 41 Misc.3d 1220(A), 981 N.Y.S.2d 636 (Sup. Ct. 2013) (“Unless there is a vote of a

 majority in interest of the members, this court is unaware of a legal basis for directing, ordering

 or adjudging that an LLC member be removed from a management position.”); Waxman Real

 Estate LLC v. Sacks, 32 Misc.3d 1241(A), 938 N.Y.S.2d 23 (Sup. Ct. 2011) (“[W]here there has

 been no vote or meeting called by Members to remove [the] Manager of the Company, [NY LLC

 Law] section 414 does not authorize a court to remove an LLC Manager.”).

        Notwithstanding this case law, and while RGS and Futterman disagree with the

 arbitrator’s findings that there was cause to remove them, RGS and Futterman do not seek to

 vacate that portion of the Award requiring the replacement of RGS and Futterman’s affiliates as

 the LLCs’ managing members. Indeed, if the Award had correctly provided that the members of

 SoHa Terrace (and, by extension, 2280 FDB) must hold elections in accordance with New York

 LLC law to name a neutral, third-party replacement manager for 2280 FDB, not to be affiliated

 with Futterman in any way, RGS and Futterman would have sought confirmation of the Award

 in its entirety. However, an Award that purports to strip an LLC’s majority member of the

 ability to elect managers in proportion to its membership interest so clearly violates well-

 established New York LLC Law section 402(a), that it creates the “explicit conflict” that

 warrants this Court’s correction. See City of Oswego, 21 N.Y.3d at 882.

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           C.     USHA Has No Right Under the Operating Agreements to Control SoHa
                  Terrace and Appoint Itself As Manager of 2280 FDB

           Contrary to USHA’s improper filing of the July 2017 Action (stating that it has the sole

 authority to act on behalf of two LLCs in which it holds a minority interest), neither the Award,

 nor the relevant operating agreements, nor New York LLC law, grant it any such authority.

           First, as set forth above, the Award merely directs USHA to “elect” replacement

 managing members – a ruling that, for the reasons stated in Point III.A & B, supra, clearly

 violates New York LLC Law. Futterman should be able to vote RGS’s 80% interest in SoHa

 Terrace in order to vote for a new managing member of SoHa Terrace and an Independent

 Manager for 2280 FDB.

           Second, the 2280 FDB Operating Agreement provides that SoHa Terrace Manager Corp.

 or “STMC” (defined as “SoHa Manager” in the operating agreement) would be the manager, and

 that there would be a vote by Class A units to replace the manager. See 2280 FDB Operating

 Agreement at Section 3.1(c), 8.1 & 8.3 (Zeisler Decl., Ex. G). USHA holds no Class A units –

 only SoHa Terrace does. Thus, Futterman’s 80% vote at the SoHa Terrace level controls the

 appointment of any replacement manager for 2280 FDB, the actual holder of the condominium

 assets.

           Third, 2280 FDB is a manager-managed entity, and “Manager” under the 2280 FDB

 Operating Agreement “means SoHa Manager and any replacement appointed in accordance with

 the agreement.” Id., Art. II (emphasis added) & § 3.1(a) (“the business and affairs of the

 Company shall be managed by or under the direction of the Manager.”). There is no authority

 under the 2280 FDB Operating Agreement for USHA to elect itself as Independent Manager, and

 indeed, the definition of Independent Manager would preclude USHA from serving. Id., Art. II

 (Independent Manager definition).



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        Finally, it is clear that the manager-managed provision of the 2280 FDB Operating

 Agreement tracks textbook LLC law. See 3 Ribstein & Keetinge, Limited Liability

 Companies, Appendix B–8, fn.1 (“[I]n a member-managed LLC, each member is an agent of the

 LLC for carrying on the business of the LLC in the usual course. On the other hand, in a

 manager-managed LLC, members do not have agency authority and managers do.”); 5

 White, New York Business Entities § L401.01 (same).

                                         CONCLUSION

        For these reasons, Debtor respectfully requests the arbitration award be confirmed in part

 and vacated in part, and that an independent manager, such as Judge Gerber or Judge Lyons, be

 appointed to manage 2280 FDB so that its remaining units can be sold for the benefit of the

 Debtor’s legitimate creditors, and a post-2013 accounting of its books can be performed.

 Dated: New York, New York
        January 9, 2018
                                                     ZEISLER PLLC


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